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                                          UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF INDIANA
                                                NEW ALBANY DIVISION


    In re: Efactorytomedotcom, LLC                                §    Case No. 21-91168
                                                                  §
                                                                  §
                                                                  §
                                 Debtor(s)


                                              TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 12/27/2021. The
    undersigned trustee was appointed on 12/28/2021.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of                  $           84,581.82
                             Funds were disbursed in the following amounts:

                             Payments made under an
                              interim distribution                                          0.00
                             Administrative expenses                                   19,297.56
                             Bank service fees                                          1,339.59
                             Other payments to creditors                                     0.00
                             Non-estate funds paid to 3rd Parties                            0.00
                             Exemptions paid to the debtor                                   0.00
                             Other payments to the debtor                                    0.00
                             Leaving a balance on hand of1                $            63,944.67
    The remaining funds are available for distribution.

   1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to

   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 05/09/2022 and the deadline for filing
    governmental claims was 06/25/2022. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $7,479.09. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $7,479.09, for a
    total compensation of $7,479.092. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $212.36 for total expenses
    of $212.362.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 03/15/2023                                     By: /s/ Kathryn L. Pry
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                           Form 1
                                                                                                                                                      Exhibit A
                                       Individual Estate Property Record and Report                                                                   Page: 1

                                                        Asset Cases
Case No.:    21-91168                                                                    Trustee Name:      (340300) Kathryn L. Pry
Case Name:        Efactorytomedotcom, LLC                                                Date Filed (f) or Converted (c): 12/27/2021 (f)
                                                                                         § 341(a) Meeting Date:       02/07/2022
For Period Ending:       03/15/2023                                                      Claims Bar Date:      05/09/2022

                                   1                              2                     3                      4                    5                      6

                           Asset Description                   Petition/        Estimated Net Value     Property Formally     Sale/Funds              Asset Fully
                (Scheduled And Unscheduled (u) Property)     Unscheduled       (Value Determined By        Abandoned        Received by the        Administered (FA)/
                                                                Values                Trustee,             OA=§554(a)           Estate              Gross Value of
                                                                              Less Liens, Exemptions,       abandon.                               Remaining Assets
  Ref. #                                                                         and Other Costs)

    1       Checking Account at PNC Bank Est.                   84,000.00                   84,000.00                              84,453.56                            FA
            Balance: $84,000.00

    2       Trademarks: "Lorient" "Moxava" "Lorient              Unknown                      100.00           OA                         0.00                          FA
            Home".

    3       ACCOUNTS RECEIVABLE (u)                                   0.00                       0.00          OA                         0.00                          FA

    4       Potential avoidance actions (u)                           0.00                       0.00          OA                         0.00                          FA

    5       Refund on warehouse space (u)                             0.00                    128.26                                    128.26                          FA

    5       Assets Totals (Excluding unknown values)           $84,000.00                $84,228.26                             $84,581.82                        $0.00



 Major Activities Affecting Case Closing:

                                Motion to hire attorney and accountants filed. 341 meeting held. Trustee doing additional investigation. All
                                assets liquidated. First tax returns filed. Doing final tax returns, then will close out case when they are
                                accepted as filed.


 Initial Projected Date Of Final Report (TFR): 01/31/2023                      Current Projected Date Of Final Report (TFR):            04/30/2023


                      03/15/2023                                                              /s/Kathryn L. Pry
                           Date                                                               Kathryn L. Pry




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                                                                 Form 2                                                                                    Exhibit B
                                                                                                                                                           Page: 1
                                                 Cash Receipts And Disbursements Record
Case No.:              21-91168                                              Trustee Name:                      Kathryn L. Pry (340300)
Case Name:             Efactorytomedotcom, LLC                               Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:         **-***6326                                            Account #:                         ******4725 Checking
For Period Ending:     03/15/2023                                            Blanket Bond (per case limit):     $20,423,801.00
                                                                             Separate Bond (if applicable):     N/A

    1            2                      3                                            4                                5                     6                          7

  Trans.    Check or        Paid To / Received From              Description of Transaction         Uniform       Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                                Tran. Code       $                       $

 05/05/22     {1}      PNC, Efactory Bank Account            WIRE FROM                             1129-000           84,453.56                                            84,453.56
                                                             EFACTORYTOMEDOTCOM LLC
 05/09/22     {5}      Jeffersonville Public Warehouse       Refund on warehouse space             1229-000               128.26                                           84,581.82
                       Co.
 05/31/22              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      103.90                    84,477.92
                                                             Fees
 06/30/22              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      148.95                    84,328.97
                                                             Fees
 07/29/22              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      130.65                    84,198.32
                                                             Fees
 08/31/22              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      148.44                    84,049.88
                                                             Fees
 09/02/22     101      Kentucky State Treasurer              Payment of taxes due based on         2820-000                                      175.00                    83,874.88
                                                             2021 tax returns prepared by Hobe
                                                             & Lucas
 09/30/22              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      134.51                    83,740.37
                                                             Fees
 10/31/22              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      129.74                    83,610.63
                                                             Fees
 11/15/22     102      International Sureties, Ltd.          2022 Bond Payment                     2300-000                                       42.66                    83,567.97
 11/30/22              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      142.93                    83,425.04
                                                             Fees
 12/30/22              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      133.70                    83,291.34
                                                             Fees
 01/31/23              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      142.39                    83,148.95
                                                             Fees
 02/27/23     103      Kentucky Department of Revenue        LLET Interest and Penalty for tax     2820-000                                      175.00                    82,973.95
                                                             returns state of KY
 02/28/23              Metropolitan Commercial Bank          Bank and Technology Services          2600-000                                      124.38                    82,849.57
                                                             Fees
 03/04/23     104      Rubin & Levin                         Attorney fees and expenses per                                                 12,694.90                      70,154.67
                                                             court order dated 3/1/23, docket
                                                             entry #100
                                                             Attorney fees per court order dated   3210-000
                                                             3/1/23, docket entry #100
                                                                                    $12,691.00
                                                             Attorneyexpenses per court order      3220-000
                                                             dated 3/1/23, docket entry #100
                                                                                          $3.90
 03/04/23     105      Hobe & Lucas                          Accounting fees per court order       3410-000                                     6,210.00                   63,944.67
                                                             dated 2/27/23, docket entry #98

                                            COLUMN TOTALS                                                              84,581.82             20,637.15                 $63,944.67
                                                      Less: Bank Transfers/CDs                                              0.00                    0.00
                                            Subtotal                                                                   84,581.82             20,637.15
                                                      Less: Payments to Debtors                                                                     0.00

                                            NET Receipts / Disbursements                                              $84,581.82           $20,637.15




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                        ! - transaction has not been cleared
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                                                       Form 2                                                                    Exhibit B
                                                                                                                                 Page: 2
                                       Cash Receipts And Disbursements Record
Case No.:           21-91168                                     Trustee Name:                   Kathryn L. Pry (340300)
Case Name:          Efactorytomedotcom, LLC                      Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***6326                                   Account #:                      ******4725 Checking
For Period Ending: 03/15/2023                                    Blanket Bond (per case limit): $20,423,801.00
                                                                 Separate Bond (if applicable): N/A




                                                                                                    NET                    ACCOUNT
                                 TOTAL - ALL ACCOUNTS                         NET DEPOSITS     DISBURSEMENTS               BALANCES
                                 ******4725 Checking                                $84,581.82         $20,637.15              $63,944.67

                                                                                    $84,581.82               $20,637.15          $63,944.67




                 03/15/2023                                              /s/Kathryn L. Pry
                   Date                                                  Kathryn L. Pry




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                                                                                        Exhibit C
                                                                                 Claims Register



                                                               Case: 21-91168 EFACTORYTOMEDOTCOM, LLC

                                                                                                                                       Claims Bar Date:   5/9/22 12:00


                                                                                                                                              Paid            Claim
      Claim #         Claimant Name                                Claim Type                Acct#/ Memo/Journal   Amount Allowed           to Date          Balance

           1PEN        Indiana Dept of Revenue                     Unsecured                 1301                           $ 100.57             $0.00           $100.57
                       Bankruptcy Section MS 108
                       100 N Senate Ave N240
                       Indianapolis, IN 46204


            1S         Indiana Dept of Revenue                     Secured                   1301                           $ 819.80             $0.00           $819.80
                       Bankruptcy Section MS 108
                       100 N Senate Ave N240
                       Indianapolis, IN 46204


            2          Ohio Dept. of Job and Family Services       Priority Unsecured        7000                            $ 80.31             $0.00            $80.31
                       Legal Support Division - Bankruptcy
                       P. O. Box 182830
                       Columbus, OH 43218-2830


            3P         Kentucky Department of Revenue              Priority Unsecured        6326                       $ 3,450.66               $0.00         $3,450.66
                       P O Box 5222
                       Frankfort, KY 40602



           3PEN        Kentucky Department of Revenue              Unsecured                 6326                       $ 2,833.73               $0.00         $2,833.73
                       P O Box 5222
                       Frankfort, KY 40602
                                  Case 21-91168-AKM-7A   Doc 102       Filed 04/12/23      EOD 04/12/23 16:14:13              Pg 7 of 13




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                                                                               Exhibit C
                                                                        Claims Register



                                                     Case: 21-91168 EFACTORYTOMEDOTCOM, LLC

                                                                                                                                        Claims Bar Date:       5/9/22 12:00


                                                                                                                                                 Paid               Claim
      Claim #         Claimant Name                       Claim Type                Acct#/ Memo/Journal            Amount Allowed              to Date             Balance

            4P         Internal Revenue Service           Priority Unsecured        6326                                      $ 0.00                 $0.00                $0.00
                       POB 7346
                       Philadelphia, PA 19101-7346                                  This claim is a duplicate of claim #5, which claim appears to be the updated claim with
                                                                                    accurate information for the same taxes.


           4PEN        Internal Revenue Service           Unsecured                 6326                                      $ 0.00                 $0.00                $0.00
                       P.O. Box 7346
                       Philadelphia, PA 19101-7346                                  This claim is a duplicate of claim #5, which claim appears to be the updated claim with
                                                                                    accurate information for the same taxes.


            4U         Internal Revenue Service           Unsecured                 6326                                      $ 0.00                 $0.00                $0.00
                       POB 7346
                       Philadelphia, PA 19101-7346                                  This claim is a duplicate of claim #5, which claim appears to be the updated claim with
                                                                                    accurate information for the same taxes.


           5P-4        Internal Revenue Service           Priority Unsecured        6326                                  $ 6,813.02                 $0.00           $6,813.02
                       POB 7346
                       Philadelphia, PA 19101-7346



           5PEN        Internal Revenue Service           Unsecured                 6326                                 $ 10,684.42                 $0.00          $10,684.42
                       PO Box 7346
                       Philadelphia, PA 19101-7346
                                  Case 21-91168-AKM-7A               Doc 102        Filed 04/12/23   EOD 04/12/23 16:14:13               Pg 8 of 13




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                                                                                         Exhibit C
                                                                                     Claims Register



                                                                   Case: 21-91168 EFACTORYTOMEDOTCOM, LLC

                                                                                                                                                  Claims Bar Date:       5/9/22 12:00


                                                                                                                                                           Paid               Claim
      Claim #         Claimant Name                                    Claim Type             Acct#/ Memo/Journal            Amount Allowed              to Date             Balance

           5U-4        Internal Revenue Service                        Unsecured              6326                                    $ 200.00                 $0.00             $200.00
                       P.O. Box 7346
                       Philadelphia, PA 19101-7346



            6          PNC Bank, National Association                  Unsecured              3737                                  $ 1,660.09                 $0.00            $1,660.09
                       c/o Joe Horton, Vice President
                       201 East 5th Street, Mailstop: B1BM01035
                       Cincinnati, OH 45202


            7          Stoll Keenon Ogden PLLC                         Unsecured              5878                                    $ 507.00                 $0.00             $507.00
                       Attn: Spencer Tanner
                       One Main Street, #201
                       Evansville, IN 47708


            8          Wuyi c/o Daisy                                  Unsecured              NONE ON POC                          $ 52,814.52                 $0.00          $52,814.52
                       Baihuashan Industiral Zone,Baiyang
                       Street,Wuyi,Jinhua City,Zhejiang Province                              Schedule F 3.20



            9          Wuyi c/o Daisy                                  Unsecured              none on POC                                $ 0.00                $0.00                $0.00
                       Baihuashan Industiral Zone,Baiyang
                       Street,Wuyi,Jinhua City,Zhejiang Provinc,                              This claim is a duplicate of claim # 8. Disallowed per court order dated 7/22/22, docket
                       China 321200                                                           entry #59.
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                                                                                   Exhibit C
                                                                               Claims Register



                                                            Case: 21-91168 EFACTORYTOMEDOTCOM, LLC

                                                                                                                                            Claims Bar Date:    5/9/22 12:00


                                                                                                                                                     Paid           Claim
      Claim #        Claimant Name                               Claim Type             Acct#/ Memo/Journal            Amount Allowed              to Date         Balance

           10         MUSVENUS LTD                               Unsecured              none on poc                           $ 8,601.39                $0.00        $8,601.39
                      MAHBUBELER MAH. MAHBUBELER -SOKAK
                      NO 112
                      10200 BANDIRMA BALIKESIR


           11         RUGS GALLERY                               Unsecured              none on proof of claim               $ 27,853.00                $0.00       $27,853.00
                      JANGI ROAD MIRZAPUR PIN CODE-231001
                      UTTAR PRADESH



           12         Siu Cheung Fung                            Unsecured              none on proof of claim                    $ 0.00                $0.00              $0.00
                      318 29th Avenue
                      San Francisco, CA 94121                                           There is no proof of indebtedness attached to proof of claim.



           13         SM International                           Unsecured              none on poc                           $ 5,322.00                $0.00        $5,322.00
                      c/o Hammad
                      Deewan Baazar,Moradabad, Uttar Pradesh,



           14         Nantong Safe c/o Carl                      Unsecured              none on poc                        $ 347,068.60                 $0.00      $347,068.60
                      YONG'AN VILLAGE, NANTONG CITY
                      JIANGSU PROV. CHINA 226316                                        Claim objected to, but amended POC filed with attachment.
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                                                                            Exhibit C
                                                                        Claims Register



                                                       Case: 21-91168 EFACTORYTOMEDOTCOM, LLC

                                                                                                                                 Claims Bar Date:       5/9/22 12:00


                                                                                                                                        Paid                Claim
      Claim #        Claimant Name                         Claim Type             Acct#/ Memo/Journal         Amount Allowed          to Date              Balance

           15         Nantong Evergreen c/o Jane           Unsecured              none on proof of claim           $ 67,483.48             $0.00            $67,483.48

                      42 Heather Lane                                             Amended POC filed with attachments,
                      New Hyde Park, NY 11040


           16         Euro Tapis c/o Nico                  Unsecured              none on POC                     $ 139,708.50             $0.00           $139,708.50
                      Courtensstraat 1
                      Waregem Zone 10-8791



           17         FedEx Corporate Services Inc.        Unsecured              3054                              $ 6,659.24             $0.00             $6,659.24
                      3965 Airways Blvd
                      Module G, 3rd Floor
                      Memphis, TN 38116-5017


           18         Winforum Industrial Limited          Unsecured              none on poc                      $ 25,095.83             $0.00            $25,095.83
                      318 29th Avenue
                      San Francisco, CA 94121



                                                                                                                   Case Total:                  $0.00      $707,756.16
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                                       TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                              Exhibit D


    Case No.: 21-91168
    Case Name: EFACTORYTOMEDOTCOM, LLC
    Trustee Name: Kathryn L. Pry

                                                     Balance on hand:       $                             63,944.67

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                        Claim        Allowed          Interim           Proposed
  No.                                                     Asserted        Amount       Payments to            Payment
                                                                          of Claim            Date

  1S        Indiana Dept of Revenue                          819.80          819.80                0.00         819.80

                                                  Total to be paid to secured creditors:       $                 819.80
                                                  Remaining balance:                           $              63,124.87

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                          Total            Interim         Proposed
                                                                        Requested          Payments           Payment
                                                                                             to Date

  Trustee, Fees - Kathryn L. Pry                                           7,479.09                0.00        7,479.09
  Trustee, Expenses - Kathryn L. Pry                                         212.36                0.00         212.36
                        Total to be paid for chapter 7 administrative expenses:                $               7,691.45
                        Remaining balance:                                                     $              55,433.42

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                    Total           Interim             Proposed
                                                                      Requested       Payments            Payment

                                                        None


                      Total to be paid for prior chapter administrative expenses:              $                   0.00
                      Remaining balance:                                                       $              55,433.42




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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $10,343.99 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                             Allowed Amount          Interim Payments           Proposed
  No.                                                     of Claim                   to Date           Payment

  2           Ohio Dept. of Job and Family                     80.31                     0.00                80.31
              Services
  3P          Kentucky Department of Revenue                3,450.66                     0.00              3,450.66
  4P          Internal Revenue Service                           0.00                    0.00                  0.00
  5P-4        Internal Revenue Service                      6,813.02                     0.00              6,813.02

                                                     Total to be paid for priority claims:      $      10,343.99
                                                     Remaining balance:                         $      45,089.43

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $651,218.58 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 6.9 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount          Interim Payments           Proposed
  No.                                                     of Claim                   to Date           Payment

  4U          Internal Revenue Service                           0.00                    0.00                  0.00
  5U-4        Internal Revenue Service                        200.00                     0.00                13.85
  6           PNC Bank, National Association                1,660.09                     0.00               114.94
  7           Stoll Keenon Ogden PLLC                         507.00                     0.00                35.10
  8           Wuyi c/o Daisy                               52,814.52                     0.00              3,656.80
  9           Wuyi c/o Daisy                                     0.00                    0.00                  0.00
  10          MUSVENUS LTD                                  8,601.39                     0.00               595.55
  11          RUGS GALLERY                                 27,853.00                     0.00              1,928.50
  12          Siu Cheung Fung                                    0.00                    0.00                  0.00
  13          SM International                              5,322.00                     0.00               368.49
  14          Nantong Safe c/o Carl                       347,068.60                     0.00          24,030.53
  15          Nantong Evergreen c/o Jane                   67,483.48                     0.00              4,672.46
  16          Euro Tapis c/o Nico                         139,708.50                     0.00              9,673.21
                          Total to be paid for timely general unsecured claims:                 $     45,089.43
                          Remaining balance:                                                    $          0.00




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            Tardily filed claims of general (unsecured) creditors totaling $31,755.07 have been allowed and
    will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
    claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
    interest (if applicable).
            Tardily filed general (unsecured) claims are as follows:
  Claim     Claimant                                Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment

  17        FedEx Corporate Services Inc.                  6,659.24                    0.00                      0.00
  18        Winforum Industrial Limited                   25,095.83                    0.00                      0.00

                        Total to be paid for tardily filed general unsecured claims:          $                  0.00
                        Remaining balance:                                                    $                  0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $13,618.72 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                              Allowed Amount         Interim Payments               Proposed
  No.                                                    of Claim                  to Date               Payment

  1PEN      Indiana Dept of Revenue                          100.57                    0.00                      0.00
  3PEN      Kentucky Department of Revenue                 2,833.73                    0.00                      0.00
  4PEN      Internal Revenue Service                           0.00                    0.00                      0.00
  5PEN      Internal Revenue Service                      10,684.42                    0.00                      0.00

                                                Total to be paid for subordinated claims: $                      0.00
                                                Remaining balance:                        $                      0.00




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